 Case: 2:22-cv-02925-MHW-KAJ Doc #: 10 Filed: 01/04/23 Page: 1 of 3 PAGEID #: 52




                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

SUSAN CRISP, ASHLEY                                  )
SACCHITELLA, and CATHERINE                           )      No.: 2:22-cv-02925-MHW-KAJ
WEEKS, on behalf of themselves and                   )
all others similarly situated,                       )      CLASS ACTION
                                                     )
               Plaintiffs,                           )
                                                     )
COMENITY CAPITAL BANK;                               )
COMENITY SERVICING, LLC; and                         )      District Judge: Michael H. Watson
BREAD FINANCIAL HOKDINGS,                            )      Magistrate Judge: Kimberly A. Jolson
INCORPORATED,                                        )
                                                     )
               Defendants,                           )
                                                     )

                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Susan Crisp, Ashley Sacchitella and

Catherine Weeks hereby dismiss their claims and this case with prejudice. This dismissal is without

prejudice to the claims of any putative class member and because no class has been certified, no

notice to the class is required. Defendants have not served an answer or a motion for summary

judgement.


Dated: January 4, 2023

                                                     Respectfully submitted,

                                                     /s/ Daniel R. Karon
                                                     Daniel R. Karon
                                                     KARON LLC
                                                     Daniel R. Karon
                                                     700 W. St. Clair Avenue, Suite 200
                                                     Cleveland, OH 44113

                                                     Joseph G. Sauder
                                                     Joseph B. Kenney
                                                     SAUDER SCHELKOPF LLC
Case: 2:22-cv-02925-MHW-KAJ Doc #: 10 Filed: 01/04/23 Page: 2 of 3 PAGEID #: 53




                                          1109 Lancaster Avenue
                                          Berwyn, PA 19312
                                          Telephone: (888) 711-9975
                                          Email: jgs@sstriallawyers.com
                                                 jbk@sstriallawyers.com

                                          Benjamin F. Johns
                                          SHUB LAW FIRM LLC
                                          134 Kings Highway East
                                          2nd Floor
                                          Haddonfield, NJ 08033
                                          Tel: (856) 772-7200
                                          Email: bjohns@shublawyers.com
                                          Attorneys for Plaintiffs




     IT IS SO ORDERED:        _________________________
                              Hon. Michael H. Watson




                                      2
 Case: 2:22-cv-02925-MHW-KAJ Doc #: 10 Filed: 01/04/23 Page: 3 of 3 PAGEID #: 54




                                 CERTIFICATE OF SERVICE

       I, Daniel R. Karon, certify that on January 4, 2023, I caused the foregoing PLAINTIFFS’

NOTICE OF VOLUNTARY DISMISSAL to be filed using the Court’s CM/ECF system, thereby

causing it to be served upon all registered ECF users in this case.



                                                      /s/ Daniel R. Karon
                                                      Daniel R. Karon
